Case 01-01139-AMC Doc 6151-3 Filed 08/10/04 Pagelof1

CERTIFICATE OF SERVICE

I, R. KARL HILL, hereby certify that one copy of the attached Notice of Motion
and Motion of Intercat, Inc. for Leave to File a Late Proof of Claim was served this 1D day of

August, 2004, upon the following individuals in the manner designated below:
Via First Class Mail

David M. Bernick, Esquire

James H. M. Spraygegen, Esquire
James W. Kapp, III, Esquire
Christpher J. Lane, Esquire
Kirkland & Ellis

200 East Randolph Drive
Chicago, IL 60601

Via Hand Delivery

Laura Davis Jones, Esquire

Pachulski Stang Ziehl Young & Jones
919 N. Market Street, Suite 1600

P. O. Box 8705

Wilmington, Delaware 19801

William K. Harrington, Esquire
Michael Lastowski, Esquire
Duane Morris & Heckscher, LLP
1100 N. Market Street, Suite 1200
Wilmington, Delaware 19801

Frank J. Perch, III, Esquire

Office of the United States Trustee
J. Caleb Boggs Federal Building
844 King Street, Room 2207
Wilmington, Delaware 19801

R. KARL HILL (DE #2747)

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